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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  EASTERN DIVISION


LOUIS SAIA,                                     )
                                                )
        Plaintiff,                              )
                                                )
vs.                                             )     NO. 15-cv-1045
                                                )     JURY TRIAL DEMANDED
FJ MANAGEMENT, INC. d/b/a FLYING J, INC.,       )
FLYING J INSURANCE SERVICES, INC., and/or       )
its Successor, THE BUCKNER COMPANY,             )
TRANSPORTATION ALLIANCE BANK, INC.,             )
TRANSPORTATION ALLIANCE LEASING, LLC,           )
TAB BANK, INC., TAB BANK, INC. d/b/a            )
TRANSPORTATION ALLIANCE LEASING, LLC,           )
JAGJIT “J.J.” SINGH, STEPHEN PARKER,            )
JOHN DOES A, B, and C, AND                      )
JANE DOES A, B, and C,                          )
                                                )
        Defendants.                             )
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

       COMES NOW the Plaintiff for causes of action against the named Defendants and would

show unto the Court:

                              I.     JURISDICTION AND VENUE

       1.      This is an action for damages, declaratory and injunctive relief both preliminary

and permanent, arising under the Racketeer Influenced and Corrupt Organizations Act (“RICO”)

18 U.S.C. § 1961. Jurisdiction is invoked pursuant to 28 U.S.C.' 1331 and 1332. Diversity

jurisdiction is also invoked pursuant to 28 U.S.C. ' 1332. Declaratory and injunctive relief is

authorized pursuant to 28 U.S.C. ' 2201 and 2202.         Plaintiff further invokes the pendent

jurisdiction of this Court to hear and determine claims arising under state law, including but not

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limited to statutory claims under the Tennessee common law claims for fraud, intentional

misrepresentation, negligent misrepresentation, abuse of process, malicious prosecution and

conspiracy to commit some and/or all the aforementioned torts. The conduct at issue was

directed at residents of this district and all defendants had substantial contacts with the state of

Tennessee and this district and thus vesting jurisdiction in this Court.

        2.      Diversity jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 in that

the amount in controversy is in excess of $75,000.00, exclusive of interest and costs, and the

Plaintiffs and all Defendants are citizens of different states.

        3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and (c) in that the

Plaintiff and all Defendants reside and/or conduct business in this District and/or a substantial

part, if not all, of the event, acts and/or omissions giving rise to the claim occurred in this

District. Venue is also proper in this District pursuant to 18 U.S.C. § 1965(a) in that all parties

either reside, are found, have an agent, and/or transact his/her/its affairs in this District.

                                          II.     PARTIES

        4.      The Plaintiff, Louis Saia, (herein “Saia”) is a citizen and resident of Madison

County, Tennessee with his residence address at 46 Dovecrest Cove, Jackson, TN 38305 and

is/was the sole shareholder, president and CEO of Saint Michael Motor Express (herein “St.

Michael” or “Debtor”), a Tennessee corporation, having its principal place of business at 141

Law Road, Jackson, TN 38305. Prior to St. Michael’s filing a Chapter 11 bankruptcy in the

United States Bankruptcy Court for the Western District of Tennessee on May 22, 2008 which

was subsequently converted to a Chapter 7 bankruptcy, cause number 08-11838, the Debtor was

engaged in interstate commerce.



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         5.     The Defendant, Flying J, Inc., is a closely held, for profit corporation with a

principal address of 1104 County Hills Drive, Ogden, UT 84403 and may be served through its

registered agent, Corporation Service Company, 2908 Poston Ave., Nashville, TN 37203-1312.

On July 1, 2012, Flying J, Inc., which was then in Chapter 11 Bankruptcy, merged with Pilot

Corporation to form Pilot Flying J, LLC and continues to be either a parent, subsidiary, or

affiliate. Defendant Flying J, Inc.’s successor is FJ Management, Inc.

         6.     The Defendant, FJ Management Inc., d/b/a Flying J, Inc. is a for profit

corporation with a principal place of business registered as c/o Eva Jane C. Marsh, 185 S. State

Street, Suite 201, Salt Lake City, UT 84111-1561 and may be served through its registered agent

Corporation Service Company, 2908 Poston Ave., Nashville, TN 37203-1312. Defendant, FJ

Management, Inc. is the successor corporation to or “name change” of Flying J, Inc.

         7.     The Defendant, Flying J Insurance Services, Inc. and its successor, Defendant,

The Buckner Company, was/is a for profit corporation with its principal place of business

located at 1104 County Hills Drive, Suite 510, Ogden, UT 84403. There is no registered agent

listed with the Tennessee Secretary of State. At pertinent times herein, Defendant, Flying J

Insurance Services, Inc. was a wholly owned subsidiary and/or affiliated corporation of Flying J,

Inc. Defendant, Flying J Insurance Services, Inc. and/or affiliated corporation of Flying J., Inc.

Defendant Flying J Insurance Services, Inc. and/or its successor, The Buckner Company, was

involved in the providing of insurance services for and transfer of Saint Michael Motor Express

premium payments, escrow checks and other insurance transactions leading up to and after the

purchase of Flying J Insurance Services, Inc. by Buckner in 2010. At all times pertinent herein,

Flying    J   Insurance   Services,   Inc.   and/or   The   Buckner   Company served       as   an

agent/representative/broker for Carolina Casualty Insurance Company, and as a result Carolina

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Casualty Insurance Company is bound by representations made by and the acts and omissions of

Flying J Insurance Services, Inc. and/or successor, The Buckner Company.

       8.      The Defendant, Transportation Alliance Bank, Inc./TAB Bank, Inc. and/or TAB

Bank, Inc. d/b/a Transportation Alliance Leasing, LLC (hereinafter “TAB”) is an Industrial Loan

Corporation with its principal place of business located at 4185 South Harrison Blvd., 2nd Floor,

Ogden, UT 84403. TAB may be served through its registered agent at Corporation Service

Company located at 2180 South 1300 East, Suite 650, Salt Lake City, UT 84106. At all times

pertinent herein, TAB was/is a wholly owned subsidiary and/or affiliate of Flying J, Inc. and/or

FJ Management, Inc.

       9.      The Defendant, Transportation Alliance Leasing, LLC is a limited liability

company with its principal place of business being 4185 Harrison Blvd., Ogden, UT 84403.

Transportation Alliance Leasing, LLC may be served through its registered agent at Corporation

Service Company located at 2180 South 1300 East, Suite 650, Salt Lake City, UT 84106. It

was/is a wholly owned subsidiary, division and/or affiliate of TAB, and in turn, of Flying J Inc.

       10.     The Defendant, Jagjit “JJ” Singh, is an individual who at all times pertinent

herein, served as employee, agent, Vice President of Financial Services for Flying J Inc., Vice

President of Financial and Communication Services for Flying J Inc., Director of Flying J

Insurance Services, Inc., and an agent and representative of Flying J, Inc., and its subsidiaries

and affiliates, including serving as CEO and Chairman of Transportation Alliance Bank, Inc., a

wholly owned and operated subsidiary of Flying J, Inc. His address is 1267 Elk Hollow Road,

North Salt Lake, UT 84054-3336.

       11.     The Defendant, Stephen Parker, is an individual who at all times pertinent herein,

was serving or had served as Vice President of Commercial Loans with Transportation Alliance

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Bank, Inc., (TAB), a wholly owned and operated subsidiary of Flying J, Inc. His address is 2938

Pineview Dr., Salt Lake City, UT 84121-3428. Defendant, Parker, at all times pertinent herein,

also served as an officer and/or agent and representative of Transportation Alliance Leasing,

LLC.

       12.     The “Flying J network” is a separate but real enterprise or association of

individuals and/or closely affiliated business entities, all of whom act under the umbrella name

of “Flying J” and, at all times pertinent herein, include the above named Defendants, each of

whom acted in concert to promote the interest of the enterprise or association through

unlawful/wrongful acts in interstate commerce, to the damage and detriment of the Debtor.

       13.     The John Does, A, B, and C, and Jane Does, A, B, and C, are real, but

unidentified, persons or entities whose identities are currently not known to Plaintiff.

                              III.    FACTUAL ALLEGATIONS

       14.     All allegations in paragraphs 1 to 12 are reiterated herein by reference as if

specifically set forth verbatim.

       15.     Plaintiff, Louis P. Saia, III, has years of extensive experience in the transportation

industry. He previously served as President and CEO and then as a director of Saia Motor

Freight Line, an over-the-road, trucking and transportation company, founded by his grandfather,

until it sold to the publicly held Preston Corporation at which point Louis Saia, III, continued as

President and CEO of Saia and as a director of Preston Corporation for approximately seven (7)

additional years.

       16.     Based upon his knowledge and experience, Saia recognized that a significant part

of North America was underserved by refrigerated, over-the-road transport services and that a

business opportunity existed for anyone who could rapidly fill this niche market.

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        17.       On or about September 25, 2002, Louis P. Saia, III, formed a Tennessee, for profit

corporation, Saint Michael Motor Express.

        18.       At all times pertinent herein, Plaintiff Louis P. Saia, III was the sole shareholder,

president and chief executive officer of Saint Michael Motor Express.

        19.       Over the period of Plaintiff’s operations, Plaintiff invested approximately

$10,000,000.00 from personal funds into the capital of Saint Michael Motor Express and he,

along with his mother, Ann M. Saia, became personal guarantors of certain indebtedness

incurred by Saint Michael Motor Express.

        20.       At all times pertinent herein, Saint Michael Motor Express was in the business of

providing over-the-road transportation services for goods and products through the United States,

and, in particular, providing refrigerated transport services, including, but not limited to, pickup,

hauling and delivery of freight via tractor/trailer commercial vehicles owned and operated and/or

leased by the Plaintiff in the South and Northeastern United States.

        21.       Plaintiff initially became acquainted with Defendant, Transportation Alliance

Bank, Inc. and its subsidiaries in 2003 when he purchased Peterbilt Trucks from the Peterbilt

dealership in Memphis, Tennessee who introduced Plaintiff to Defendant, Transportation

Alliance Bank, Inc and arranged for the Defendant to finance the trucks Plaintiff was purchasing

from the dealership.       In 2006 Plaintiff purchased more Peterbilt trucks through the same

dealership and again financed them through Defendant, Transportation Alliance Bank, Inc., and

its subsidiary.

        22.       As Saint Michael Motor Express’s (hereinafter sometimes “St. Michael” or “St.

Michael’s) business expanded, Defendant, Jagjit “JJ” Singh, contacted Saia, came to Tennessee,



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and began soliciting all of St. Michael’s financing, leasing, insurance, banking, factoring, diesel

fuel purchase and transport services business on behalf of Flying J, Inc. and its subsidiaries.

       23.     Defendant Singh represented and sold the “Flying J network” as a “one-stop

shop” for all of St. Michael’s trucking needs. Defendant Singh met with Saia on several

occasions to encourage Saia to use the Flying J network to “help’ expand St. Michael’s business.

Singh, acting as agent, representative and officer of and, on behalf of Flying J, Inc., and its

wholly owned, and/or dominated subsidiaries, offered various transportation, insurance and

finance services to St. Michael including: (a) the provision of a line of credit; (b) the purchase

and/or financing for St. Michael’s tractor and trailer fleet by Defendant, Transportation Alliance

Bank, Inc. and through its TRAC leasing program, leasing the fleet back to St. Michael’s through

the bank’s subsidiary, Defendant, Transportation Alliance Bank Leasing, LLC, with the right of

St. Michael to purchase the vehicles at the end of the leases; (c) the factoring and aggressive

collection of St. Michael’s accounts receivable through Transportation Alliance Bank, Inc. and

(d) furnishing insurance for Saint Michael Motor Express’s cargo and fleet through Defendant,

Flying J Insurance Services, Inc., acting as the Plaintiff’s insurance agent.

       24.     In 2006, Saia, as CEO of St. Michael, met with Jagjit “JJ” Singh, who held

himself out as being in control of and the decision maker for Flying J. Singh specifically

proposed financing, upon information and belief, approximately 60 trucks and 30 trailers,

providing the insurance, products and services, the factoring of St. Michael accounts, as well as

providing fuel purchase services, leasing the St. Michael fleet of tractors and trailers to Plaintiff’s

company, and the provision of credit financing. Defendant, Jagjit “JJ” Singh met with Saia on

multiple occasions in Tennessee to sell the Flying J network, enterprise and/or the association to

St. Michael.

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       25.     Flying J, Inc., at all times pertinent herein, touted itself as 17th largest privately

held company in the United States, with sales of $15 billion and was best known for what it

claims the hospitality “Cadillac” nationwide network of transportation, financing, and fueling

services and travel plazas located on Interstate highways in 40 states in the United States and

seven provinces in Canada.

       26.     As a result of the representations by Defendant Singh, made on behalf of the

Flying J network, Saia, in or about April 2006, agreed to conduct all of his business, except for

the factoring offered and fuel, through the Flying J network. The St. Michael’s banking, bank

accounts, credit line and other related services were to be through Transportation Alliance Bank,

Inc. All financing of the fleet and of the related leases were to be conducted through the bank or

its subsidiary, Transportation Alliance Leasing, LLC. St. Michael’s insurance was obtained

through Flying J Insurance Services, Inc. St. Michael’s factoring and fuel purchased through

Flying J entities first began in approximately October 2007 and June 2008, respectively.

       27.     In or about April 2006, Saint Michael was extended a line of credit, personally

guaranteed by Plaintiff and his mother, Ann Saia, in the amount of $800,000.00 with Defendant

Transportation Alliance Bank, Inc.

       28.     The St. Michael’s and St. Michael’s d/b./a St. Michael Hunting and Fishing

tractors and trailers were purchased by Defendant, Transportation Alliance Bank, Inc. and then,

in turn leased to the Plaintiff through the Defendant’s subsidiary, Transportation Alliance

Leasing, LLC, under a Master Lease Agreement whereby St. Michael, as Lessee, leased each of

the tractors for 54 months and the trailers for 60 months with the right to purchase each of them

at the end of the lease term for a set price of not more than the residual agreed upon amount,

which varied between $13,000 and $24,000 depending on the vehicle involved.

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       29.     St. Michael also entered into leases with Transportation Alliance leasing, LLC

through St. Michael’s Hunting and Fishing, for 15 of the 60 trucks, at the direction of Jagjit “JJ”

Singh. Upon information and belief, Singh was only able to approve financing of 45 trucks at

one time, so he directed St. Michael’s to sign altered documents and enter into then leases for the

remaining 15 trucks using the St. Michael Hunting and Fishing name to avoid exceeding his

authority. At all times during the lease, payments were made for all 60 trucks by St. Michael and

all payments were unilaterally removed from St. Michael’s accounts for line of credit with TAB

Bank and Transportation Alliance Leasing. The involvement of St. Michael Hunting and Fishing

was created by and is limited to the deceptive act by Jagjit “JJ” Singh to purportedly avoid

exceeding approval limit of leasing 45 trucks at one time. In all actions taken concerning the

trucks, including their repossession, TAB Bank represented to the Court that all of these trucks

were leased by St. Michael.

       30.     On June 21, 2006, Defendant, Stephen S. Parker, acting as the Vice-President of

Defendant, Transportation Alliance Bank, Inc. advised Saia as to the type and amount of

insurance coverage required for St. Michael’s fleet and cargo. Parker directed Saia, in turn, to

contact Flying J Insurance Services, Inc. and send a security deposit and insurance to the

Defendant Bank’s subsidiary, Transportation Alliance Leasing, LLC.

       31.     Saint Michael’s fleet of tractors and trailers were financed through Flying J/TAB

Bank/Transportation Alliance Leasing, LLC. St. Michael’s banking transactions were with

Transportation Alliance Bank, Inc., its liability and cargo insurance were purchased and handled

through Flying J Insurance Services, Inc. and its fuel was purchased through Flying J with

participation in the Flying J discount rebate program.



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         32.   The leased tractor/trailers in St. Michael’s fleet were worth in excess of the

usually expected depreciated market value for over-the-road tractors because of their age, the

high quality of maintenance that Plaintiff’s company performed on them, and because the trucks

were “grandfathered” under governmental regulatory emission standards, making the cost for

their operation more economical than others.

         33.   The liability and cargo insurance for St. Michael and its fleet was purchased each

calendar year through Flying J Insurance Services, Inc. Katie London, the agency’s Fleet

Account Manager, served as the direct representative/agent and contact in charge of handling the

St. Michael’s account and providing services to St. Michael’s.

         34.   From 2006 up to the latter part of 2009, Ms. London timely and properly notified

the Plaintiff of policy due dates, and the requirements, if any, as to the renewal of coverage,

premium amounts, and other matters related to coverage. Up until September of 2009, London

faithfully worked with St. Michael through Flying J Insurance Services, Inc. to obtain and

provide the necessary coverages for St. Michael as agent that had been represented to Saia by

Singh.

         35.   Throughout the Plaintiff’s relationship with the Defendants, and the Flying J

network, JJ Singh sold the Plaintiff on the “one-stop shop” services including fuel, and Flying J,

acting through Singh, offered and committed to pay a standard fuel rebate/discount to St.

Michael’s for fuel purchases made by the drivers of St. Michael’s fleet. There was an established

discount rate for diesel fuel purchases between Flying J and St. Michael Motor Express.

         36.   Upon information and belief, the rebates to which St. Michael was entitled were

withheld, not timely paid, and/or not paid when due and owing. When questioned by St.

Michael’s officers, the amounts of the rebate owed were then misrepresented by Defendants and,

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although requested, no detailed accounting was provided. Upon information and belief, Flying J

fraudulently failed to pay the agreed upon discounts or rebate owed to St. Michael, withheld

funds, and delayed and/or manipulated payments, and deprived St. Michael of rebates to which it

was entitled and converted same.

        37.     As fuel prices increased and the transportation industry began to suffer from the

economic downturn, purchasers of fuel and transportation services began to delay payment. At

some point during the fall of 2007, The Defendants, acting through Singh and Parker, again

approached Saia and represented the Defendant, Transportation Alliance Bank, Inc. could/would

be able to better collect and handle Saint Michael’s accounts receivable because of the strength

and influence of the Flying J network. The individual Defendants represented that Transportation

Alliance Bank, Inc.’s factoring and collection program would create an improvement in cash

flow for Plaintiff, provide screening of potential customers, provide timely aggressive collection

of accounts and more effective collection of past due accounts, while reducing administrative

costs for Plaintiff.

        38.     Based upon these representations by Defendants, which were false and known by

Defendants to be false when made, Plaintiff agreed to enter into a factoring arrangement with

Defendant, Transportation Alliance Bank, Inc. and signed the Defendant’s form Accounts

Receivable Purchase and Agreement. In point of fact, this contract of adhesion became an

additional step used by the Defendants’ network/enterprise to effectively take control of St.

Michael’s and Plaintiff’s operations and enabled the Defendants and the Flying J network to

carry out a scheme to take over Plaintiff’s assets.

        39.     Upon information and belief, Transportation Alliance Bank, Inc. wrongfully

charged at least $127,151.61 in improper late fees to St. Michael.

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       40.     Upon information and belief, at all times, Defendants Transportation Alliance

Bank, Inc. and Transportation Alliance Bank, Inc. on behalf of Flying J Insurance Services, Inc.,

Transportation Alliance Leasing, and Flying J, conducted business by wiring money from St.

Michael’s accounts receivable and line of credit amounts to other accounts used for Defendants’

benefit.

       41.     Defendants also gained total control over: (a) the St. Michael’s line of credit and

payments being made thereon; (b) the liability and cargo insurance and payments thereon; (c) St.

Michael’s access to fuel, fuel rebate payments, and fuel credit accounts; (d) St. Michael’s ability

to make payments on all accounts and/or services provided by The Flying J network thereon; (e)

St. Michael’s customer base and collection of monies owed to St. Michael for current and past

due accounts; and (f) St. Michael’s ability to make payments on leased equipment. Such gave the

Defendants the ostensible ability to “legally” control and deny the St. Michael working capital

and cut off its cash flow.

       42.     In spite of Plaintiff’s requests, Defendant Transportation Alliance Bank, Inc.

refused to provide statements as to St. Michael’s accounts, lease payments, and /or Defendant’s

collection efforts, providing only confusing and undecipherable reports with no back up

documents. Upon information and belief, Defendant untimely and improperly debited St.

Michael’s accounts for payments to multiple entities within the Flying J network, failed to

properly credit payments, and improperly charged late fees in an amount totaling not less than

approximately $127,000, which monies were converted and not paid into St. Michael’s

bankruptcy estate as required.

       43.     By controlling and manipulating St. Michael’s accounts and cash flow,

Defendants caused the Plaintiff to be repeatedly surprised at not being able to fund fuel

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purchases, even though there should have been sufficient monies available for such purposes,

and to pay for ongoing, normal trucking expense. This resulted in St. Michael’s drivers and cargo

being left stranded in route, while Plaintiff diligently worked to obtain alternate arrangements in

order to complete deliveries.

       44.     On the 22nd day of May, 2008, Saint Michael Motor Express filed for Chapter 11

Bankruptcy reorganization and protection.

       45.     In sum, by withholding fuel rebate combined with poor collection results,

significant late fees, the Defendants were able to financially choke Plaintiff and his business.

       46.     During Plaintiff’s Chapter 11 bankruptcy, Saia and his family used personal funds

and assets to meet all St. Michael’s obligations, continued to pay down the leases on the

tractor/trailers as agreed and continued to meet St. Michael’s obligations, owed to Defendants,

reduced the St. Michael’s total debt, downsized the company, and St. Michael’s business began

to slowly but steadily improve.

       47.     On December 22, 2008, Defendant Flying J, Inc., along with its related affiliates,

when faced with an extraordinarily huge cash flow shortage, filed its own petition for Chapter 11

Bankruptcy organization relief in the United States Bankruptcy Court for The District of

Delaware, Case No. 08-13384(MFW).

       48.     On December 23, 2008, the day after Defendant, Flying J, Inc. filed its petition

for bankruptcy, the Federal Deposit Insurance Corporation, issued a Cease and Desist Order

against Flying J’s subsidiary Defendant, Transportation Alliance Bank, Inc., for “unsafe or

unsound banking practices and violation of law and/or regulations” based on the deterioration of

Flying J’s financial condition. The Defendant bank consented to the Cease and Desist Order.



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       49.     The FDIC’s cease and desist order prohibited certain “transactions”, “covered

transactions” and “extensions of credit” with or to Flying J, Inc. or any of its affiliates by

Defendant, Transportation Alliance Bank, Inc.

       50.     In order to carry out its reorganization plan, Flying J, Inc. and its related entities

proposed a selected creditor payment plan which required a huge influx of cash to be created, in

part, by selling off assets specified and from the ongoing business operations of the Flying J

network.

       51.     On or about June 18, 2009, Saint Michael received notice that Carolina Casualty

Insurance Company would not renew St. Michael’s then existing liability insurance coverage,

under policy number CPT 351668, for its fleet. The notice was sent to Flying J Insurance

Services, Inc. Katie London, the Plaintiff’s agent and representative at Flying J Insurance

Services, Inc. and Flying J Insurance Services, Inc.’s Fleet Department Manager, advised

Plaintiff of the notice but, at the same time, assured him that the Defendant agency would be able

to place the insurance coverage for St. Michael with Carolina Casualty or another carrier.

       52.     Upon receiving the information, about the notice of declination of insurance

renewal, Saia began to immediately seek insurance coverage for St. Michael’s fleet through other

agencies and brokers. He quickly located two insurance brokers who, in turn, located insurance

companies who agreed to provide the needed coverage and to provide quotes/offers. The brokers

began actively negotiating the quote terms as to premium costs for Saint Michael. Saia, in turn,

advised Katie London that he was in the process of obtaining the necessary liability insurance

coverage. At this time, Ms. London assured Saia that additional quotes would not be necessary

since Flying J Insurance Services, Inc. would obtain the needed insurance.



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       53.     On August 18, 2009, Katie London, in fact, acting as agent for Saint Michael

Motor Express and as agent and representative of Flying J Insurance Services, Inc., requested

Carolina Casualty Insurance Company to confirm its commitment to reinstate the Plaintiff’s

insurance coverage. Carolina Casualty Insurance Company agreed. Ms. London advised the

Plaintiff that a quote had been obtained for St. Michael’s coverage, and that coverage would, in

fact, be reissued upon receipt of specified assurances as to premium payment, which assurances

were immediately given by Plaintiff.

       54.     On September 14, 2009, Carolina Casualty Insurance Company processed the

renewal of St. Michael Motor’s insurance policy, thereby negating the effect of the earlier issued

notice of nonrenewal.

       55.     On September 16, 2009, Carolina Casualty Insurance Company issued to Saint

Michael Motor Express an offer quote for provision of liability insurance coverage for St.

Michael Motor Express, Inc.’s fleet of tractors and trailers, Policy #CGP-351668-Q, with the

policy period to begin September 20, 2009, and extending up to September 20, 2010. The annual

premium quoted in the offer was $521,428. The offer/quote was specifically represented to

remain open until the expiration date of the then existing policy #CPT351668, or until September

20, 2009, the policy’s stated expiration date.

       56.     Upon information and belief, with the time set for the completion of the

reorganization plan of the Flying J entities and sale of assets rapidly approaching, the

management of the Flying J network, i.e., Singh, Parkers, and John Does A, B, and C and Jane

Does A, B, and C, engaged in a pattern of unlawful activity, by and through which the

Defendants took unfair advantage of Flying J commercial customers, including Saint Michael

Motor Express.

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        57.      Recognizing that the Flying J network exercised almost complete and total control

over the operations of Saint Michael Motor Express, the Defendants set about to convert the

assets and monies of Saint Michael Motor Express, in particular, the Plaintiff’s monies on

deposit, imposition of improper late charge assessments, and its fleet of tractors and trailers.

        58.      Katie London, after receiving Carolina Casualty Insurance Company’s agreement

to reissue the policy and the quote, advised Saia that Plaintiff would be required to make a 20%

deposit of the total premium amount.

        59.      Upon information and belief, this “requirement” was “imposed” by the Flying J

Defendants, believing that St. Michael and/or Saia would be unable to fund the 20% deposit on

such short notice and, thus, would enable the Defendants to repossess and obtain St. Michael’s

equity in its fleet.

        60.      St. Michael President and CEO, Saia, however, advised Ms. London that he

would obtain the money needed for the deposit and, in fact, arranged for the payment of the

“required” 20% deposit with personal monies from family. On September 19, 2009, he had

traveled to Louisiana to pick up the necessary monies for the deposit in order to then transfer the

deposit to Flying J Insurance Services, Inc. as purportedly “required”.

        61.      At the time of these communications, the existing liability insurance Policy

#CPT351668 remained in effect and was, in fact, extended by Carolina Casualty Insurance

Company beyond the policy expiration date until October 22, 2009.

        62.      On or about September 19, 2009, Saia was called on his cell phone by Stephen

Parker and told that St. Michael Motor Express, contrary to the representation made, would not

be insured by Carolina Casualty Insurance Company. Knowing that Singh controlled the

Defendant insurance agency and the Defendant bank, Saia demanded to speak with Singh. Saia’s

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request was denied. Parker then informed Saia that he Defendant, Transportation Alliance Bank,

Inc. intended to file an emergency motion in St. Michael’s bankruptcy in Jackson, Tennessee to

request the Court to allow the bank to take control of and repossession of the St. Michael’s Fleet.

According to Parker, acting as an agent of Transportation Alliance Bank and Transportation

Alliance Leasing, since Saint Michael Motor Express did not have liability insurance coverage,

St. Michael was operating its fleet illegally.

       63.     Knowing that what he was being told was contrary to what he had been earlier

advised by Katie London, Saia then called Ms. London at Flying J Insurance Services, Inc. When

he asked her what the problem was, she told him that she was not allowed to talk with him any

further and that he would have to talk with Defendants, Parker and Singh.

       64.     Flying J Insurance Services, Inc., acting as the agent for the named insured, Saint

Michael Motor Express, had earlier completed the application to Great American Insurance

Company Inland Marine for the Plaintiff’s cargo insurance. Katie London then requested Joseph

Weekly, an officer of St. Michael Motor Express, Inc. to sign the application and insurance

premium finance agreement with Transportation Alliance Bank, Inc. for the cargo policy because

Mr. Saia was out of town. Weekly did so.

       65.     As threatened by Parker and Singh, on September 22, 2009, the Defendant,

Transportation Alliance Bank, Inc. and its controlled and dominated subsidiary, Transportation

Alliance Leasing, LLC, filed an emergency motion in the Plaintiff’s Chapter 11 bankruptcy

proceedings. Defendants represented that they had received a copy of the June 18, 2009 “Notice

of Nonrenewal of Insurance” for liability coverage on numerous trucks leased by St. Michael and

that the St. Michael’s fleet of tractor-trailers were presently being operated “over-the-road”

illegally because they did not have liability and cargo insurance coverage.

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       66.    The “nonrenewal” and purported lack of insurance coverage was asserted to be

the basis for the emergency motion, the emergency hearing requested for the next day, and to

provide the factual and legal basis for the order to prevent St. Michael from continuing

operations. Based on this assertion, defendants sought immediate repossession and an order of

abandonment by St. Michael of all of its leased vehicles and equipment. Additionally,

Defendants sought to use the existing monies in the accounts receivable account of Saint Michael

to fund bringing the tractors and trailers back to Transportation Alliance Bank/Transportation

Alliance Leasing once repossessed.

       67.    On September 23, 2009, Carolina Casualty Insurance Company presented Flying

J with another insurance policy quote for St. Michael Motor Express, Inc.’s fleet of tractors and

trailers with a policy period beginning September 24, 2009 – September 24, 2010, and an annual

premium of $427,500.00.

       68.    On the same day, September 23, 2009, Defendants, Transportation Alliance Bank,

Inc. and its wholly owned, dominated and controlled subsidiary, Transportation Alliance

Leasing, LLC, appeared in the Bankruptcy Court and pursued the emergency motion.

       69.    The insurance quote totaling $427,500.00 complete with amortization schedule

requiring a down payment of $85,500.00 issued on September 23, 2009, by Carolina Casualty

Insurance Company was provided to Katie London at Flying J Insurance Services, Inc. by

submission #0621878, for a policy period from September 24, 2009 to September 24, 2010.

Flying J Insurance Services, Inc. completed another application from St. Michael Motor Express

to Carolina Casualty Insurance Company, and again used Joseph Weekly, an officer of St.

Michael, on September 23, 2009, to sign for the renewal on September 24, 2009.               The

application was for the same coverage as that provided in the then still existing, effective and

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outstanding insurance offer/quote dated September 16, 2009, made to St. Michael by Carolina

Casualty Insurance Company.

       70.     At the same time Defendants were appearing before the Bankruptcy Court to

repossess St. Michael’s fleet based on the false and known to be false statements by Defendants.

Defendant Parker called Saia, who was in Louisiana, and told Saia that if he, as the President and

sole owner of St. Michael Motor Express, Inc. did not consent to the emergency motion and

repossession of St. Michael’s fleet of vehicles, the vehicles would be operating without insurance

and the trucks out on the road would be stranded and the customers’ cargo would perish. The

drivers would then be forced to abandon the St. Michael’s trucks and cargo on the spot. Faced

with this threat, believing Parker’s fraudulent misrepresentation that Defendants could not

procure insurance for continued operation of the fleet and in order to protect St. Michael’s

customers, Saia then called his attorney and wife, who, at the time, were attending the

emergency motion hearing in Bankruptcy Court, and instructed them to consent to the motion.

       71.     Based upon the false and fraudulent representations made by Defendant Parker,

St. Michael not only acquiesced in the repossession of the trucks and trailers, and acquiesced to

the use of the accounts receivable monies, but unknowingly waived any and all defenses to the

seizure or misrepresentations by consenting to the Court Order.

       72.     Although Transportation Alliance Bank, Inc. and Transportation Alliance

Leasing, LLC represented to the Court that a notice of nonrenewal had been issued on June 18,

2009, they failed to disclose that Stephen Parker, Vice President of Commercial Loans at

Transportation Alliance Bank, had instructed Katie London, in August of 2009, to obtain renewal

of the policy despite the notice. They failed to disclose that Ms. London had advised St. Michael

that the policy would be obtained. They failed to disclose that the application for renewal had

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been completed at Ms. London’s direction with the intention of obtaining liability and cargo

coverages and that Carolina Casualty Insurance Company had, in fact, agreed to renew coverage,

that there had been an outstanding offer and acceptance of insurance coverage, and that St.

Michael actually was in the process of paying the premium deposit while Defendants were

misleading the Court.

         73.   Defendants repeated in open court the misleading, false and incomplete

statements that were asserted in this motion. Defendants failed to disclose their direct role in the

scheme to prevent St. Michael from obtaining the coverage or the true facts concerning the status

of St. Michael Motor Express’s liability and cargo insurance coverage. Thus, Defendants

provided false and misleading information to Saint Michael Motor Express and to the

Bankruptcy Court, which Defendants knew to be false, and upon which false representations the

Plaintiff reasonably relied to his detriment and upon which the Court relied as to the basis for its

Order.

         74.   Upon receiving the Order, Defendants immediately seized and repossessed all of

St. Michael’s trucks, trailers and cargo, and ostensibly used the proceeds in the accounts

receivable account of St. Michael to repossess the trucks and trailers. Upon information and

belief Defendants liquidated and/or sold, pledged or transferred the St. Michael’s fleet for the

benefit of Flying J, Inc. and/or its subsidiaries. However, no proof of the sale of this property has

been provided, and upon information and belief, no reasonable sale as required by law was

conducted in order to mitigate Defendants’ damages.

         75.   At the time of the fraud committed by Defendants, St. Michael’s trucks and trailer

held significant value, likely well in excess of $4,000,000.00.



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       76.     During this period, Saint Michael had on deposit the prior year’s escrow

insurance premium in the amount of $37,438.20 with Gresham & Associates, Inc. and/or

Gresham & Associates of Indiana and/or Gresham Associates, LLC, the agent and/or broker for

Defendants Flying J Insurance Services, Inc. and Carolina Casualty Insurance Company. These

funds were not returned to the St. Michael, nor turned into the Trustee for the St. Michael’s

bankruptcy estate as required, but were wrongfully converted by Defendants.

       77.     On October 22, 2009, Carolina Casualty Insurance Company, issued a notice to

“close” Saint Michael Motor Express’s coverage under policy #CPT351668. Thus, until at least

that date, contrary to Defendants’ representations to the Court, St. Michael had insurance

coverage.

       78.     At all times up to and including September 23, 2009, Plaintiff reasonably relied

upon all false misrepresentations made by Defendants, Jagjit “JJ” Singh, and Steve Parker,

Flying J Insurance Services, Inc, Flying J, Inc., Transportation Alliance Bank, Inc. and the

“Flying J network” of companies to St. Michael’s detriment.

       79.     At all times during which the above fraudulent acts took place, the representations

made by Defendants were false and known to be false by the makers when made. Defendants

knew that Plaintiff was relying upon Defendants’ representations to his detriment.

       80.     At all times pertinent herein, the affiliated Defendant “entities” and all

subsidiaries, while acting in concert, and through the Flying J network, association, enterprise,

and/or arrangement, in order to take control of and convert assets of St. Michael, had no separate

mind or real existence of their own, other than as mere business conduits within the network,

making each of them a mere instrumentality and/or alter ego of the Flying J network, the

enterprise. Defendants and each of them, acting in concert with each other, used the network to

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accomplish unlawful purposes, to engage in a pattern of fraudulent scheme to defraud, obtain and

seize the St. Michael’s assets and properties. Therefore, the corporate veil of Flying J, Inc.

should be pierced, and each and all of the Defendants should be held jointly and severally liable

for the fraudulent acts and wrongs complained of herein.

       81.     The Defendants, individually, collectively, and through the Flying J network

enterprise, and/or association used the United States mail, internet, wire and telephone directed

to and within the State of Tennessee and elsewhere in order to carry out the scheme to defraud:

including but not limited to the following: Defendant Steve Parker, individually and acting on

behalf of each of the other Defendants in the Flying J network made fraudulent

misrepresentations over the telephone to Plaintiff stating that they were unable to obtain

insurance for St. Michael’s, Parker called Saia and coerced him into agreeing to the Consent

Order. Katie London, acting as the agent and representative of the Flying J network defendants

repeatedly assured Plaintiff by telephone that the Flying J Defendants had obtained insurance for

St. Michaels. London also exchanged emails with Plaintiff and/or other St. Michael’s employees

indicating that the insurance had been procured.

       82.     On September 22 and 23, 2009, even though St. Michael was not in default on its

agreements with the Flying J network, had an existing policy that extended through October 22,

2009, and had obtained monies for the premium deposit required by the Carolina Casualty

Insurance Company rendering the issue of the alleged “non-insurance” moot, the Defendants

nevertheless proceeded to obtain the “emergency” seizure and forfeiture of the trucks and trailers

by misleading the Bankruptcy Court.

       83.     The order allowing repossession of the St. Michael’s leased trucks was, upon

information and belief, obtained by fraud, abuse of process and as a result of the concerted

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unlawful and fraudulent actions of the Defendants and amounts to a fraud in Bankruptcy under

title 11 of the U.S. Code.

       84.     In June of 2010, Transportation Alliance Bank, Inc. was notified that the FDIC

had “reason to believe” that Transportation Alliance Bank, Inc. had violated the FDIC’s cease

and desist order and assessed a fine against Transportation Alliance Bank, Inc. of $97,500.00.

       85.     On July 9, 2010, the United States Bankruptcy Court confirmed the plan of

reorganization filed by Flying J, Inc. and related entities. In the confirmation order, paragraph

13(f), successor liability of the “reorganized St. Michaels” and their successor and assigns was

eliminated from any claim which arose prior to the “Effective Date” of the confirmation Order.

This elimination of liability, however, did not release any party or successor from liability for

criminal, or grossly negligent or “willful misconduct.”

       86.     Defendants, Transportation Alliance Leasing, LLC, Transportation Alliance

Bank, Inc. and Flying J Insurance Services, Inc. are and were at all times pertinent herein part of

the interrelated and intertwined businesses owned, controlled, and/or operated by Defendant,

Flying J, Inc. and/or FJ Management, Inc. in the “network” with Defendant, Jagjit “JJ” Singh,

being the officer in charge of the banking, insurance, and finances of the network and exercised

control by directing the actions of said Defendants.

       87.     Defendant, Jagjit “JJ” Singh repeatedly represented to Plaintiff and others that he

exercised complete control over Flying J Insurance Services, Inc., Transportation Alliance Bank,

Inc. and Transportation Alliance Leasing, LLC and money and financial matters within the

Flying J network. Therefore, he knew that the actions of these Defendants were unlawful, not

arms-length, and were designed by Defendants, acting in concert with each other and other as yet



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identified co-conspirators, to use the Flying J Association, enterprise and/or network to benefit

Flying J, Inc.

       88.       In furtherance of the scheme and conspiracy to defraud the Plaintiff and St.

Michaels the Defendants, through their concerted fraud, misrepresentations and deceit, caused

the St. Michael’s credit line, initially $800,000.00 to go into default and the personal guaranties

of Plaintiff, and his mother, Ann Saia, to be called. In that regard Defendant Transportation

Alliance Bank, Inc. filed a lawsuit in the Utah State Court on October 29, 2010 seeking to collect

on the balance claimed to be owed on the line of credit.

       89.       The Utah lawsuit to enforce the personal guarantees was based solely on the

fraudulent acts of the Flying J network as set out above. The Utah case was premised solely on

the fraudulent misrepresentation made by the Flying J Defendants in St. Michaels’ Bankruptcy

proceedings as set out above.

       90.       Through the discovery process in the Utah case, Plaintiff was provided by

Carolina Casualty Insurance Co, also a named defendant in that lawsuit, a document from

Carolina Casualty, discovered by Plaintiff’s attorneys in March of 2012, indicating that it had, in

fact, provided a quote to Flying J Insurance for the insurance for St. Michaels on September 16,

2009. Plaintiff turned that document over to Marianna Williams, St. Michael’s bankruptcy

trustee who subsequently filed an adversary lawsuit in Bankruptcy court for fraud and civil

RICO, among other causes of action.

       91.       TAB’s pleadings in the Utah case also fraudulently assert a deficit in St.

Michael’s A/R in the amount of $57,382.97. St. Michael Motor Express did not have any deficit

in its A/R loan facility but rather had significant reserves on account, until TAB received

unfettered access to St. Michael’s accounts. The A/R Agreement required a 10 % reserve on all

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funds advanced as a term of the agreement. St. Michael’s reserve account was fully funded.

Additionally, TAB invoiced and collected seven to ten days of work that had not yet been

invoiced. Finally, TAB hired ex St. Michael employees to collect past due accounts that had

already been debited from St. Michael’s accounts after aging over 90 days in accordance with the

terms of the A/R Agreement.

       92.     TAB’s past due collection efforts continued for at least five months after the

company was closed and well after all trucks had come in. TAB kept all funds it collected and

never provided the Trustee with an accounting. TAB’s Utah pleadings assert a $57,382.97 deficit

despite St. Michael’s reserves and the collections made by TAB.

       93.     TAB’s pleadings in the Utah case are rife with erroneous, deceitful and

misleading facts and support. At one point TAB illegally offered to dismiss the claim against

Plaintiff if he would refuse to cooperate with the bankruptcy Trustee in the adversary

proceeding, essentially asking the Plaintiff to commit fraud and obstruct justice on the U. S.

Trustee, the case trustee and the Bankruptcy Court, which Plaintiff refused to do.

       94.     Because of TAB’s fraudulent lawsuit, racketeering and coercive threats,

Plaintiff’s mother settled the claims TAB had brought against her in the Utah case on the

$800,000.00 personal guarantee for $1,200,000.00.

       95.     On August 27, 2014, the Utah Court ruled that Mr. Saia was liable for breach of

contract and on November 20, 2014, awarded TAB damages in the amount of $1,830,802.94

against Plaintiff, on his personal guarantee of the same $800,000.00 line of credit. Furthermore,

the Court awarded TAB with pre and post judgment interest at the rate of 30% per annum on the

Guaranty regarding the $800,000 Note and pre and post judgment interest at the rate of 28.8%

per annum on the A/R Agreement deficiency. Currently, interest is accruing at approximately

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$45,770.07 per month. The court also awarded TAB future attorney’s fees in connection with the

collection and execution of the said judgment.           TAB engaged in additional fraudulent

misrepresentations to the Utah court at the damages hearing, including but not limited to

changing the date and misrepresenting to the Court the date that they claimed St. Michaels’ had

defaulted on the its obligations in order to deceive the court into increasing the amount of

damages to which it claimed it was entitled in that lawsuit.

       96.     Upon information and belief, after Transportation Alliance Leasing, LLC and

Transportation Alliance Bank, Inc. repossessed the trucks and trailers, these vehicles and the

proceeds from the sale or transfer thereof and all monies or choses in actions as to the accounts

receivable for St. Michael were kept by Transportation Alliance Bank, Inc/Transportation

Alliance Leasing, LLC and not turned over to the Trustee or St. Michael’s estate.

       97.     Pilot and Flying J merged and created Pilot Flying J on July 1, 2010.

       98.     All of the statements, repetitions, misrepresentations made, and the acts of the

individual Defendants and the corporate Defendants were committed by them while acting in

concert with each other and as a part of a conspiracy to defraud against and to commit the illegal

acts aimed at St. Michael and the Plaintiff, all in violation of the laws of the State of Tennessee

and United States of America, as more specifically set forth hereinabove.

       99.     Each of the wrongful and illegal acts and omissions alleged herein were

committed at the direction and/or ratification, of and by each Defendant and each Defendant is a

co-conspirator with all other Defendants and is liable as a joint actor and/or co-conspirator for all

acts taken in furtherance of the conspiracy.




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                                   IV.       CAUSES OF ACTION

                                               COUNT I

       FRAUD/TORTIOUS MISREPRESNTATIONS/FRAUDULENT TRANSFER

                                               A. FRAUD

        100.    The allegations of paragraphs 1 through 99 hereinabove are reiterated and

incorporated as if fully set forth herein.

        101.    The facts, as specifically pled by incorporation, and set forth hereinabove, are

specifically reasserted here for the purposes of alleging the fraud committed upon the Plaintiff

and St. Michael.

        102.    The statements, representations, and activities of the Defendants and each of them

as carried out by the Defendants, individually, and acting in concert with and through each other

and/or their agents and the companies, and the Defendants were a part of a scheme to defraud,

intended to defraud and, in fact, did defraud the St. Michael Corporation, Plaintiff and Ann Saia,

by causing the Plaintiff and St. Michael to rely upon the Defendants’ misrepresentations to their

detriment.

        103.    At the time the statements were made, the Defendants, and each of them, either

directly or by imputation, knew that the representations, when made, were false, and were

intended to mislead and to result in an unfair advantage, and, by wrongful inducement, to cause

St. Michael to waive defenses to the emergency motion and to mislead the Court in order to

allow the Defendants to obtain title to St. Michael’s assets through the fraudulent repossession,

transfer and sale of assets; and to allow the Defendants to wrongfully, fraudulently, and illegally

take the monies and properties of the Plaintiff and his company St. Michael to whom and about

whom the misrepresentations were made.

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        104.    Specifically, the Defendants made those representations set forth herein above.

        105.    In reliance upon false representations made by Defendants, their agents, assigns,

employees, and representatives, the Plaintiff and St. Michael were misled to their detriment into:

(A) not taking actions to obtain the insurance that ultimately led to the repossession of the St.

Michael’s properties; (B) to acquiesce in, rather than contest, the emergency abandonment

hearing; (C) to agree to allow the properties to be repossessed and deemed abandoned; (D) to

forego attempts to obtain insurance; and (E) to allow the Defendants to take title to all of the St.

Michael’s equipment and assets, essentially forever shutting the doors of Plaintiff’s company.

        106.    As a direct and proximate result of the fraud committed by the Defendants, and

each of them, acting in concert with each other, maliciously, intentionally, and calculated to

deceive the Plaintiff and St. Michael, Plaintiff is entitled to recover judgment against Defendants

for recovery of compensatory and punitive damages in an amount to be determined by the jury

and/or fact finder.

    B. FRAUD ON THE PLAINTIFF, ST. MICHAEL AND THE BANKRUPTCY COURT

        107.    The allegations of paragraphs 1 through 106 hereinabove are reiterated and

incorporated as if fully set forth herein.

        108.    The actions of the Defendants, individually and acting in concert with one another

as set forth above, amount to bankruptcy fraud and fraud in insolvency in violation of 11 U.S.C.

§§152, 153 and 157 and T.C.A. §39-14-117, given that Defendants have, knowingly and

fraudulently:

        (A)     caused the transfer and conversation of property and the concealment of property

of Plaintiff’s company, St. Michael;



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        (B)     devised a scheme or artifice to defraud the Plaintiff and obtain trucks, trailers and

equipment of St. Michael for below market value, by repossession, and, thereby asserting legal

title to the property.

        109.    As a direct and proximate result of the fraud committed by the Defendants, and

each of them, acting in concert with each other, maliciously, intentionally, and calculating to

deceive, the Plaintiff suffered injury and damages for which Plaintiff is entitled to recover

judgment against Defendants for compensatory and punitive damages in an amount to be

determined by the jury and/or fact finder.

                                             COUNT II

                                   TORTIOUS CONSPIRACY

        110.    The allegations of paragraphs 1 through 109 hereinabove are reiterated and

incorporated as if fully set forth herein.

        111.    All of the acts and activities of the Defendants and each of them as set forth

hereinabove were either lawful acts taken for an unlawful purpose and/or unlawful acts taken in

concert as a part of a wrongful and unlawful scheme to wrongfully defraud, convert, and obtain

the Plaintiff’s properties by fraudulent and unlawful means for the benefit of said Defendants

and/or the Flying J network, and, as a result thereof, the Defendants have committed the tort of

unlawful conspiracy under the common law of the State of Tennessee.

        112.    As the direct and proximate result of the Defendants’ unlawful conspiracy, and

the wrongful actions and omissions of the Defendants and each of them, jointly and severally,

and acting in concert with each other, which were intentional, malicious and calculated to

deceive, the Plaintiff suffered injury and damages for which Plaintiff is entitled to recover



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judgment against the Defendants for compensatory and punitive damages in an amount to be

determined by the jury and/or fact finder.

                                             COUNT III

                                             CIVIL RICO

                       A. CONDUCT OF THE SCHEME AND ENTERPRISE

        113.    The allegations of paragraphs 1 through 112 hereinabove are reiterated and

incorporated as if fully set forth herein.

        114.    The activities of the Defendants amount to a pattern of racketeering activity

connected with the establishment, conduct, and/or control for the RICO “enterprise” (The Flying

J network), for the purposes of creating, pursuing and financing this scheme to obtain through

illegal means, the business, properties, and assets of the Plaintiff and St. Michael. The

Defendants, and each of them, were associated with said enterprise, and directly participated in

the enterprise’s affairs through the pattern of unlawful activity.

        115.    Specifically, the Defendants, and each of them, participated in the continuing and

ongoing conspiracy to defraud the Plaintiff and St. Michael, as set forth specifically herein.

        116.    The racketeering acts set forth herein occurred within ten years of each other and

pose a threat of continuing if not abated.

        117.    This case arises from an illegal scheme by Defendants to deprive the Plaintiff and

St. Michael of their properties, monies, and assets by use of illegal means.

        118.    Defendants began the illegal scheme at sometime in or after 2006, and continue

the scheme to the present, as of the filing of this Complaint.

        119.    The Defendants in this action are various individuals and entities who have,

together and in combination, conspired to and perpetuated multiple violations of RICO, and

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engaged in fraud, including, but not limited to, mail, wire, and bankruptcy fraud as set forth

hereinafter. Defendants also committed conversion, and aided and abetted the other Defendants’

unlawful conduct.

       120.    Each of the various wrongful acts set forth hereinabove and herein below, is a

specific, predicate act by Defendants to carry out and accomplish the fraudulent scheme to obtain

the properties of the St. Michael through a purported “abandonment”, to retain all of St.

Michael’s accounts receivable proceeds and monies, escrow accounts, and to deprive the St.

Michael and the Plaintiff of their properties, assets and monies, without any compensation

therefore. The Defendants, through the pattern of such racketeering activities, knowingly

participated in said wrongful acts, all in violation of 18 U.S.C. §1961, et seq.

       121.    Upon information and belief, Singh and/or, at his direction, Defendant Parker,

directed the fraudulent activities and/or enterprise as set forth herein. John Does A, B and C and

Jane Does A, B, and C may also play roles in the enterprise.

       122.    Defendant Singh, a Utah resident, is distinct from the RICO enterprise and

Defendants as defined herein, as he participates in the affairs of the RICO enterprise defined

herein. He is an agent of Defendants as listed herein and is the general manager of the scheme,

and all of the wrongful acts are attributable to Defendant and each of them. In the hierarchy of

the Flying J network RICO enterprise described herein, Defendant Singh ranks at the top as he,

at all times, controlled the purposes and operations of the unlawful enterprise, as well as the

receipt, flow, use and transfer of money wrongfully obtained from the Plaintiff and St. Michael

through a pattern of criminally unlawful racketeering activity.

       123.    Defendant Parker, a Utah resident, is distinct from the RICO enterprise defined

herein, as he participates in the affairs of the RICO enterprise defined herein. He is an agent of

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Defendants as listed herein and helped to manage and carry out the scheme, and all of his

wrongful acts are attributable to Defendants and each of them. In the hierarchy of the RICO

enterprise described herein, Defendant Parker ranks below Singh, as he at all times has acted to

perform and carry out the purpose of the unlawful enterprise, the purposes and operations of the

enterprise, as well as collect money from the Plaintiff and St. Michael, and pass this money as

directed by Singh and/or other Defendants in the Flying J network.

       124.    The Flying J network is the separate association or enterprise through which

Defendants carried out their scheme, and is a RICO enterprise as defined by law.

       125.    Defendants Flying J, Inc., Flying J Insurance Services, Inc. and/or its successor,

The Buckner Company, Transportation Alliance Bank, Inc. and/or TAB Bank, Inc. and/or

Transportation Alliance Leasing, LLC, Transportation Alliance Leasing, LLC and FJ

Management, Inc. are companies owned by Flying J, Inc., and controlled by or through Singh

and Parker, as agents of the Flying J network, which companies were used to promote and

continue the illegal scheme and /or illegal enterprise.

       126.    All Defendants, working in concert, are jointly and severally liable for all

wrongful acts committed by their agents, employees, consultants and/or representatives.

       127.    Specifically, Defendants affirmatively represented to Plaintiff and St. Michael

that it would receive the benefit of the “one-stop shop” for trucking services through the RICO

enterprise.

       128.    The individual Defendants, are RICO “persons” as defined by 18 USC §1961(3).

       129.    Defendants combined through an association in fact to form a RICO enterprise, as

defined by 18 USC §1961(4), involving the named Defendants, and used the enterprise to further

their illegal means.

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        130.   The goals and purposes of the Flying J Network RICO enterprise were to illegally

obtain the monies, properties and assets of St. Michael and the Plaintiff for the use and benefit of

Defendants.

        131.   The enterprise existed and exists separate and apart from the pattern of

racketeering activity and is a separate and distinct “enterprise” within the meaning of 18 USC

§§1961(4) and 1962(b), (c), and 9(d), constituting an “enterprise”, an “association in fact,” or a

“de facto association” within the meaning of 18 U.S.C. §1961(4).

        132.   The named Defendants are and/or were principal actors associated with the illegal

enterprise affecting interstate or foreign commerce.

        133.   At Defendants’ direction, the Plaintiff’s assets were taken and commingled in

furtherance of the illegal scheme, to pay the various entities within the Flying J network.

        134.   Using the related entities, Defendants used the agents, employees, consultants,

subsidiaries, and individuals of the enterprise to carry out the illegal scheme.

        135.   The illegal scheme was carried out via US Mail by check, money order, and/or

wire transfers and internet.

        136.   Despite the promises made to the Plaintiff and St. Michael, Defendants had no

intention of fulfilling the “one-stop shop” network promise, but intentionally manipulated the

accounts and assets of the Plaintiff and St. Michael within its control with the intention of

repossessing its properties and taking over its accounts.

        137.   Through the repetition of this fraud, the Flying J network RICO scheme and

pattern of illegal activities has taken in an unknown amount of money from St. Michael and the

Plaintiff.



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                          B. MAIL, WIRE AND BANKRUPTCY FRAUD

       138.    The Defendants committed acts of wire fraud in violation of 18 USC §1343, each

of which is a predicate act in violation of 18 USC §1962 by use of telephone communications

and electronic mail communications in furtherance of the unlawful scheme, made fraudulent

misrepresentations over the telephone wires and via electronic mail, each and all of which were a

direct and proximate cause of damages to the Plaintiff.

       139.    The Defendants used the United States mail in furtherance of the fraudulent,

wrongful, and unlawful scheme, in violation of 18 USC §1341, each act of which constitutes a

predicate act under 18 USC §1962, and each of which was direct and proximate cause of

damages to the Plaintiff.

       140.    As described above, Defendants directly and indirectly conducted and participated

in the conduct of the enterprise through a pattern of racketeering activity in violation of 18 USC

§1962(b), (c), and (d).

       141.    The transmission of these documents and the making of these communications

through the United States mail and interstate wires were for the purpose of, among other things,

inducing the Plaintiff and St. Michael to entrust their monies, accounts and properties to the

Defendants, thereby securing Plaintiff’s and St. Michael’s total reliance on and continued

cooperation and participation with Defendants. Thus, the communications were made in

connection with and for the purpose of executing a scheme to defraud the Plaintiff and St.

Michael and to conceal from the Plaintiff and St. Michael the truth regarding the Defendants’

activities and the subject transactions.




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        142.     The fraudulent documents and communications misrepresented and omitted

material information, and were calculated to deceive persons of ordinary prudence and

comprehension.

        143.     As described above, the Defendants, through their enterprise, knowingly,

willfully, and intentionally communicated through methods of wire and mails, false and

misleading information to the Plaintiff and St. Michael.

        144.     Defendants benefitted directly from their racketeering activity.

        145.     The actions of the Defendants, individually and acting in concert with one another

as set forth above, also amount to bankruptcy fraud and fraud in insolvency in violation of 11

USC §§152, 153 and 157 and TCA §39-14-117, as set forth hereinabove.

        146.     Each of the various wrongful acts set forth hereinabove, is a specific, predicate act

by Defendants to carry out and accomplish their unlawful scheme. The Defendants, through the

pattern of such activities, knowingly participated in said wrongful acts, all in violation of 18

USC §1961, et seq.

        147.     Defendants’ actions, as set forth above, taken in concert, amount to a conspiracy

to engage in illegal and unlawful racketeering activities.

        148.     The Defendants engaged in the above-referenced multiple activities which

adversely affected interstate commerce and by which they targeted multiple victims, including

the Plaintiff.

                                             COUNT IV

                                FRAUDULENT CONCEALMENT

        149.     The allegations of paragraphs 1 through 148 hereinabove are reiterated and

incorporated as if fully set forth herein.

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        150.    Defendants had a duty to disclose all material facts of the transaction to Plaintiff.

        151.    Defendants intentionally concealed and/or intentionally failed to disclose all

material facts of the transactions to Plaintiff.

        152.    Plaintiff suffered financial injury as a result of Defendants= failure to disclose all

relevant facts of the transaction

        153.    Defendants took affirmative action to conceal the cause of action from the

Plaintiffs. Defendants also remained silent regarding material facts pertaining to the cause of

action and failed to disclose. Defendants also had knowledge of the facts giving rise to the cause

of action.

        154. Plaintiffs could not have discovered the cause of action despite exercising

reasonable care and diligence. The Defendants concealed material facts from the Plaintiff by

withholding information and creating devices or artifices to deceive the Plaintiffs.

                                              COUNT V

                             NEGLIGENT MISREPRESENTATION

        155.    The allegations of paragraphs 1 through 154 hereinabove are reiterated and

incorporated as if fully set forth herein.

        156.    Defendants, in the course of their transactions with Plaintiffs, supplied false

information to Plaintiffs who justifiably relied on said false information to their detriment.

        157.    Defendants failed to exercise reasonable care or competence in obtaining and

communicating this information to Plaintiffs.

        158.    Plaintiffs suffered economic harm as a result of the Defendants negligent

misrepresentation.



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                                              COUNT VI

                                  MALICIOUS PROSECUTION

        159.    The allegations of paragraphs 1 through 158 hereinabove are reiterated and

incorporated as if fully set forth herein.

        160.    Plaintiffs allege that the Defendant, Transportation Alliance Bank, Inc. has

engaged in Malicious Prosecution by filing an action in the Second Judicial District Court in and

for Weber County, State of Utah case No. 100908498 (the “Utah action”) against him and his

mother.

        161.    Plaintiffs allege that Transportation Alliance Bank, Inc. lacked probable cause to

support the allegations in the Utah action.

        162.    Plaintiffs allege that Transportation Alliance Bank, Inc. knew or should have

known through reasonable investigation that the amount owed was the result of fraud against the

Plaintiff and his business, St. Michael Motor Express, Inc.

        163.    Transportation Alliance Bank, Inc. failed to investigate reasonably the facts and

circumstances of the allegations against Plaintiffs before filing the Utah action.

        164.    Transportation Alliance Bank, Inc. with malice and an improper motive because

they knew or should have known that the allegations in the Utah action were the result of fraud.

        165.    Transportation Alliance Bank, Inc. filed the Utah action for the improper motive

and purpose of intimidating, embarrassing and coercing the Plaintiff in an effort to recover

monetary settlement from Plaintiff.

        166.    Defendant Transportation Alliance Bank, Inc.is liable to the Plaintiffs for the

malicious prosecution of the Utah action.



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                                             COUNT VII

                                       ABUSE OF PROCESS

        167.    The allegations of paragraphs 1 through 166 hereinabove are reiterated and

incorporated as if fully set forth herein.

        168.    Plaintiffs aver that Transportation Alliance Bank, Inc. filed the Utah action for the

improper motive and purpose of intimidating, embarrassing and coercing Plaintiffs in an effort to

recover monetary settlement for reasons that were clearly false and fraudulent.

        169.    Defendant Transportation Alliance Bank, Inc. abused the judicial process by

attempting to recover a monetary settlement for an action that was filed based on false

allegations.

        170.    Defendant Transportation Alliance Bank, Inc.is liable to Plaintiffs for abuse of

process in filing and prosecuting the Utah action.

                                             COUNT VIII

                           COMMON LAW UNCONSCIONABILITY

        171.    The allegations of paragraphs 1 through 170 hereinabove are reiterated and

incorporated as if fully set forth herein.

        172.    Plaintiff alleges that Defendants, in concert, individually and/or through their

agents, engaged in conduct and/or received the fruits of conduct so clearly outrageous,

oppressive, and of unfair surprise to Plaintiff, as evidenced in the facts and on the face of

purchase documents described herein, as to be both procedurally and substantively

unconscionable. Plaintiff was misled and was not provided adequate disclosures and therefore

lacked a meaningful choice in the contract.           In addition, the terms of the contract are

unreasonably harsh as evidenced in this Complaint.

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       173.    As a result of said Defendants= acts, Plaintiff has suffered direct injury.

Defendants are liable to Plaintiff for their damages as shall be proven, resulting from such

unconscionability.

                              V.       INJURIES AND DAMAGES

       174.    Defendants’ wrongful racketeering activities directly and proximately resulted in

financial and economic damages to the Plaintiff, separate and apart from the damages suffered

by St. Michael, including, but not limited to, loss of money, profits, business opportunities,

value, properties, assets, and other damages to be proven at trial.

       175.    In addition to above stated economic damages, Plaintiff has suffered other

damages, including but not limited to severe emotional distress, injury to reputation, attorney’s

fees and loss of business opportunity.

       176.    As the direct and proximate result of the violation of the provisions of 18 USC

§1961, et seq., the Plaintiff is entitled to recover, pursuant to 18 USC §1964(c), judgment against

Defendants for all damages caused by such illegal conduct in an amount determined as

reasonable by the jury and/or fact finder, the same to be trebled, along with all of the costs and

expenses of this litigation, including reasonable attorneys’ fees.

       177.    Plaintiff is entitled to a tolling of the RICO claim, because Defendants, through

their conduct and the conduct of their agents, have affirmatively misrepresented to and/or

concealed from the Plaintiff and St. Michael material facts concerning the transactions, as

described above.

                                 VI.     PRAYER FOR RELIEF

       Premises considered, the Plaintiff, prays:



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       (A)     That the Defendants be required to answer the Complaint filed herein, their oath

thereto being waived;

       (B)     The Court to set a hearing for a preliminary injunction requested in this cause and

 enjoin the Defendants from further attempting to collect on the judgment obtained in the Utah

 action. THIS IS THE FIRST REQUEST FOR INJUNCTIVE RELIEF.

       (C)     Pursuant      to    Count      I        of   the   Complaint,      Fraud/Tortious

 Misrepresentation/Fraudulent Transfer, the Plaintiff be granted judgment against Defendants

 and recover compensatory damages as determined to be reasonable by the jury and/or fact

 finder along with punitive damages in an amount deemed to be reasonable by the jury;

       (D)     Pursuant to Count II of the Complaint, Tortious Conspiracy, the Plaintiff recover

judgment against the defendants for compensatory damages as may be determined by a jury

and/or fact finder to be reasonable, along with punitive damages in an amount determined to be

reasonable by the jury;

       (E)     That pursuant to Count III of the Complaint, Civil RICO, the Plaintiff recover

judgment against Defendants, for compensatory damages as determined to be reasonable by a

jury and/or fact finder, the same to be trebled, along with the expenses and costs of this cause

and reasonable attorneys’ fees;

       (F)     Pursuant to Count IV of the Complaint, Fraudulent Concealment, the Plaintiff

recover judgment against the defendants for compensatory damages as may be determined by a

jury and/or fact finder to be reasonable, along with punitive damages in an amount determined to

be reasonable by the jury.




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       (G)     Pursuant to Count V of the Complaint, Negligent Misrepresentation, the Plaintiff

recover judgment against the defendants for compensatory damages as may be determined by a

jury and/or fact finder to be reasonable in an amount determined to be reasonable by the jury.

       (H)     Pursuant to Count VI of the Malicious Prosecution, the Plaintiff recover judgment

against the defendants for compensatory damages as may be determined by a jury and/or fact

finder to be reasonable, along with punitive damages in an amount determined to be reasonable

by the jury.

       (I)     Pursuant to Count VII of the Complaint, Abuse of Process, the Plaintiff recover

judgment against the defendants for compensatory damages as may be determined by a jury

and/or fact finder to be reasonable, along with punitive damages in an amount determined to be

reasonable by the jury.

       (J)     Pursuant to Count VIII of the Complaint, Common Law Unconscionability, the

Plaintiff recover judgment against the defendants for compensatory damages as may be

determined by a jury and/or fact finder to be reasonable, along with punitive damages in an

amount determined to be reasonable by the jury

       (K)     Plaintiff reserves the right to amend this complaint and any ad damnum claimed

herein as additional investigation and discovery proceeds and other facts become known; and

       (L)     Plaintiff demands a jury to try the issues when joined.




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                                          Respectfully submitted,

                                          WEINMAN & ASSOCIATES


                                          /s/ Michael L. Weinman
                                          Michael L. Weinman (#15074)
                                          112 S. Liberty Street, Ste. 321
                                          P. O. Box 266
                                          Jackson, TN 38302
                                          731-423-5565
                                          mike@weinmanandassoc.com




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